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     TRANSCRIPT ORDER FORM (DKT-13) - READ INSTRUCTIONS ON LAST PAGE BEFORE COMPLETING

District Court      Western District of Texas - Austin Division                     District Court Docket No. t          18-cv-444

Short Case Title       MWK Recruiting Inc. v. Jowers et at

ONLY ONE COURT REPORTER PER FORM Court Reporter                                             Pamela Andasola


Date Notice of Appeal Filed in the District Court                   November 19, 2019                      Court of Appeals No.      5


PART I. (To be completed by party ordering transcript. Do not complete this form unless financial arrangements have been made, see
instructions on page 2.)
A. Complete the Following:
CI No hearings 0Transcript is unnecessary for appeal purposes 0Transcript is already on file in the Clerk's Office
 OR
  Check all of the following that apply, include date of the proceeding.
 This is to order a transcript of the following proceedings: DBail Hearing                          OVoir Dire
DOpening Statement of Plaintiff                        CI Opening Statement of Defendant
0 Closing Argument of Plaintiff                       0Closing Argument of Defendant:
00pinion of court                         ClJury Instructions                     0Sentencing
Other proceedings not listed above:
 Hearing Date(s) Proceeding                                                                Judge/Magistrate
       10/30/2019                     Hearing on Opposed Motion for Preliminary and Permanent Injunction                             Judge Robert Pitman




Failure to specify in adequate detail those proceedings to be transcribed, or failure to make prompt satisfactory
financial arrangements for transcript, are grounds for DISMISSAL OF APPEAL.

B. This is to certify satisfactory financial arrangements have been made. Method of Payment:
UPrivate Funds; El Criminal Justice Act Funds (Enter Authorization-24 via eVoucher);
El Other IFP Funds; ElAdvance Payment Waived by Reporter; 1:1] U.S. Government Funds
El Other

              /s/ James C. Bookhout
Signature                                                                                           Date Transcript Ordered 11/22/2019

Print Name James C. Bookhout                                                                        Phone     (214) 743-4549

Counsel for Defendant/Counterclaimant Evan P. Jowers
Address 1900 North Pearl Street, Suite 2200, Dallas, TX 75201

PART II. COURT REPORTER ACKNOWLEDGMENT (To be completed by the court reporter and filed with the Court of
Appeals within 10 days after receipt. Read instructions on page 2 before completing.)
 Date Transcript Order        Date Satisfactory Arrangements        Estimated Completion Date Estimated Number of
 Received                     for Payment were Made                                           Pages

Payment arrangements have NOT been made or are incomplete.
Reason: ODeposit not received OUnable to contact ordering party 0Awaiting creation of CJA 24 eVoucher
                     00ther (Specify)

Date                                 Signature of Reporter                                                                           Tel.
Email of Reporter
Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by
court reporter on date of filing transcript in the District Court. This completed form is to be-filed with the Court of Appeals.)

          This is to certify that the transcript has been completed and filed at the District Court today.

         Actual Number of Pages                                                                  Actual Number of Volumes

Date                                            Signature of Reporter
